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                         AFFIDAVIT IN SUPPORT OF AN ARREST
                                      WARRANT


       I, Michael Bauknight, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application for an arrest warrant for

JEFFREY RAPHIEL CLARK, JR.

       2.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”), and have

been employed with the FBI since July 2017. Prior to my work with the FBI, I was a Maryland

State Trooper for 5 years working in law enforcement. I have a Bachelor Degree in Criminal

Justice and Criminal Psychology. Additionally, I have received specialized training in the FBI

relevant to the investigation of computer related crimes to include computer forensics training. I

have experience and specialized training related the collection of computer related evidence, and

I have personally participated in search warrants involving the search and seizure of computer

related equipment. As a federal agent, I am authorized to investigate violations of laws of the

United States, and as a law enforcement officer I am authorized to execute warrants issued under

the authority of the United States.

       3.      The facts of this affidavit come from my personal observations, my training and

experience, and from information obtained from other agents and witnesses. This affidavit is

intended to show only that there is sufficient probable cause for the requested warrant and does

not set forth all of my knowledge about this matter.

       4.      This affidavit is in support of a criminal complaint charging JEFFREY RAPHIEL

CLARK, JR., an unlawful user of a controlled substance, with having knowingly possessed and
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transported in interstate commerce a firearm, in violation of 18 U.S.C. § 922(g)(3), and

possession of an illegal high-capacity magazine in violation of D.C. Code Section 7-2506.1 (b).

                                           PROBABLE CAUSE

        5.         On October 27, 2018, at approximately 9:54 a.m., Robert Bowers, a self-

proclaimed white supremacist, attacked the Tree-of-Life Synagogue in Pittsburgh, Pennsylvania,

killing 11 members of the synagogue. Bowers used an assault rifle in the attack on the Tree-of-

Life Synagogue. Bower’s attack was defined as a hate crime by the Federal Bureau of

Investigation (FBI).

        6.       The ongoing investigation regarding Bowers has revealed that shortly before he

entered the Synagogue and began shooting, Bowers posted a message on a social networking site

named “Gab” using the username “@onedingo.” In that message, Bowers made the following

comment about HIAS, a Jewish-American nonprofit organization: "HIAS likes to bring invaders

in that kill our people. I can't sit by and watch my people get slaughtered. Screw your optics. I'm

going in." 1

        7.       The FBI’s investigation of Bowers revealed that Bowers’ “friends” on Gab

included a District of Columbia resident, Jeffrey Raphiel Clark, Jr., who resides at the

PREMISES. Jeffrey Clark resides at the PREMISES with his father, sister, and younger brother,

Edward William “Teddy” Clark.



1
  According the HIAS website, “HIAS works around the world to protect refugees who have been forced to flee
their homelands because of who they are, including ethnic, religious, and sexual minorities. For more than 130
years, HIAS has been helping refugees rebuild their lives in safety and dignity.”




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        8.       On October 27, 2018, within hours after Bowers’ fatal attack on the Tree-of-life

Synagogue, news media outlets and online sources reported that Gab was cooperating with

federal law enforcement authorities in their investigation of Bowers. 2 Sometime before 12:45

P.M. on October 27, 2018, Edward “Teddy” Clark went to Theodore Roosevelt Island in

Washington D.C. and committed suicide.              Edward Clark killed himself with a Berretta pistol.

Officers who responded to the scene discovered that, in addition to the eight remaining rounds

contained in the magazine of Clark’s Berretta pistol, Edward Clark also possessed two additional

magazines of ammunition containing 20 additional rounds of ammunition. Officers did not locate

a suicide note, but did locate and seize a cell phone from Edward Clark. Edward Clark was 23

years old.

        9.       On November 2, 2018, the Washington Field Office (WFO) Command and

Tactical Operations Center (CTOC) received a call from W-1 and W-2 pertaining to their family

members Jeffrey and Edward Clark. W-1 and W-2 reported that Jeffrey and Edward Clark had

been heavily involved in the “Alt-Right” movement, and that they were connected with the

Pittsburgh Synagogue Shooter through Gab. After the death of Edward Clark, Jeffrey Clark

became more outspoken about his radical views, expressing them openly to his family members

who were in the area following Edward Clark’s death. During these conversations, Jeffrey Clark

defended Robert Bowers’ killings at the Tree-of-Life Synagogue. Jeffrey Clark also stated that

he and Edward Clark had both fantasized about killing “Jews and blacks”.



2
   On the day of the shooting, Gab.com released a public statement that it had suspended Bowers’ account: “We
then contacted the FBI and made them aware of this account and the user data in our possession.” See “What's Gab,
the social platform used by the Pittsburgh shooting suspect?” (CNN, October 27, 2018).




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       10.     W-1 and W-2 stated that Jeffrey Clark had been “really riled up” and “agitated,”

and they called the FBI out of concern that he could be a danger to himself or others. W-1 and

W-2 were so concerned that they went to Jeffrey Clark’s residence (the PREMISES) to check on

him and to confiscate his firearms. Jeffrey Clark gave them four boxes, which they took to their

home for safekeeping. As described below, those boxes did not contain any firearms, but did

contain parts to weapons that are not registered to either Jeffrey or Edward Clark.

       11.     On November 2, 2018, WFO Joint Terrorism Task Force (JTTF), Special Agent

(SA) and Task Force Officers (TFO) interviewed W-1 and W-2, and other family members who

were in the area following Edward Clark’s death. W-1 and W-2 stated that Jeffrey and Edward

Clark were heavily involved in the white nationalist movement. According to W-1 and W-2, both

Jeffrey and Edward Clark attended the 2017 “Unite the Right” rally in Charlottesville, Virginia.

W-1 and W-2 believe that there are photos online of them standing next to James Alex Fields,

the white nationalist who drove a car into a crowd of protestors in Charlottesville, Virginia,

killing one person and injuring nineteen. According to W-1 and W-2, Jeffrey and Edward Clark

openly discussed killing Jews and black people, and openly admired Timothy McVeigh, Ted

Kaczynski, and Charles Manson. According to W-1 and W-2, Jeffrey and Edward Clark believed

that there would be a race revolution, and they wanted to expedite it.

       12.     In regard to the shooting at the Tree-of-Life Synagogue, Jeffrey Clark stated that

the victims deserved it. Jeffrey Clark believed that a homosexual Jewish couple was having an

adopted baby circumcised that week, and that justified Bowers’ actions.




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       13.    W-1 and W-2 showed the interviewing agents a photo of Jeffrey and Edward

Clark holding a flag. Your affiant recognized this flag as the flag of Vanguard America (“VA”)

(Attachment C). The Southern Poverty Law Center describes VA as:

              A white supremacist group that opposes multiculturalism and
              believes that America should be an exclusively white nation. Their
              right-wing nationalist slogan, ‘Blood and Soil,’ romanticizes the
              notion that people with ‘white blood’ have a special bond with
              ‘American soil.’ This philosophy originated in Germany (as Blut
              und Boden) and was popularized by Hitler’s regime. VA uses ‘For
              Race and Nation’ as an alternative slogan. Along those lines, the
              VA manifesto (as of April 2018) maintains that ‘The racial stock
              of this nation was created for white Christian Anglo/Europeans by
              white Christian Anglo/Europeans. All other ethnicities, races,
              religions and demographics are absolutely not compatible with this
              nation’s original culture… VA has also warned against the
              influence of ‘the international Jew,’ tweeting in July 2017, ‘Those
              behind the subversive elements eroding our culture often have
              something in common. Jewish influence is prevalent, invasive, and
              dangerous.’ This theme is echoed in their 2018 manifesto, which
              states that ‘Islam, Judaism and all other non-European or foreign
              religions’ should not have the freedom to practice in the United
              States.

       14.    W-1 and W-2 stated that their family has a history of depression, but they were

not aware of any indications that Edward Clark would commit suicide. Further, W-1 and W-2

did not know why Edward Clark had so many bullets with him, but they believed he may have

been planning to commit an act of violence on the day that he died.

       15.    On or about November 8, 2018, W-2 also informed agents that Jeffrey Clark had

engaged in unusual behavior on October 27, 2018. According to W-2, Jeffrey Clark woke up

around noon on October 27, 2018, (after the Tree-of-Life Synagogue shooting) and discovered

that Edward was not home. Despite the fact that Edward Clark was 23 years old, Jeffrey Clark




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called his mother to report that Edward was missing, and reported to his mother than he was

going to call the police to report Edward missing.

                               Specific Information related to Drug Use

        16.      W-1 and W-2 also told agents that Jeffrey Clark needs medical treatment and

needs to detox from drug use. According to W-1 and W-2, Jeffrey Clark and Edward Clark

would stay at home a lot, smoke marijuana, and play video games such as “Ethnic Cleansing.”

They were not aware of any other kinds of drug use, but believed it was possible based on of

their behavior. W-1 and W-2 also stated that Jeffrey Clark was involved in selling marijuana. 3

        17.      On November 8, 2018, agents conducted a further interview with W-2. During

that interview, W-2 stated that she had smelled marijuana in the PREMISES as recently as

October 27, 2018, and November 4, 2018. W-2 also reported that during this period she observed

two propane torches in the kitchen area of the PREMISES. When W-2 asked Jeffrey Clark

whether the torches were for welding, he just smiled. Your affiant is aware that propane torches

such as those described by W-2 are consistent with those used for smoking methamphetamine.

Your affiant notes that Jeffrey Clark’s Gab profile page includes the following description of

himself: “Meth-Smoking, Pipe Bomb making, mailman-murding,#Fed,#DemoKKKrat, Che

Guevara of the altright.”



3
 W-2 later stated that Jeffery Clark had tried to stop smoking marijuana when he became active in the white
supremacist movement, but he was not successful in doing so. Another family member also stated that Jeffery and
Edward Clark talked openly about their drug use, and that the PREMISES often smelled of marijuana.




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       18.     A criminal records check disclosed that in May of 2008 Jeffrey Clark was charged

by the U.S. Park Police with possession of marijuana and distribution of marijuana, however,

both of those cases were no-papered.

                          Specific Information Regarding Firearms

       19.     A review of records maintained by the District of Columbia revealed that four

guns were registered to the Clark brothers. Jeffrey Clark is the registered owner of a Remington

Arms 1911 R1 handgun, and a Mossberg Maverick 88 shotgun. Edward Clark was the registered

owner of a Beretta 92FS handgun, and a Ruger Mini 14 Ranch Rifle. Edward Clark’s Beretta

handgun was recovered at the scene of his apparent suicide on October 27, 2018.

       20.     Following Edward Clark’s suicide, a D.C. homicide detective went to the

PREMISES. During a conversation with Jeffrey Clark, Clark stated that Edward’s rifle was still

located in the PREMISES. The homicide detective did not ask Jeffrey Clark about his firearms.

       21.     Based on your Affiant’s training and experience, there are no firearms

manufacturers located within the District of Columbia. Accordingly, the weapons registered to

the Clark brothers necessarily traveled in interstate commerce.

       22.     W-1 and W-2 showed agents the four boxes of gun parts that they obtained from

Jeffrey Clark. Upon inspection of the boxes, agents observed that they were filled with gun parts,

but no functional firearms. Agents recognized several items in the boxes as parts used to modify

AR-15 assault rifles. Based on your affiant’s training and experience, these parts could not be

used to modify any of the firearms that are registered to the Clark brothers in the District of

Columbia.




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       23.     On November 9, 2018, W-1 informed agents that the three remaining registered

guns had been removed from the PREMISES to a home owned by W-1 in Falls Church,

Virginia. On November 9, 2018, agents recovered those three firearms, specifically, a Remington

Arms 1911 R1 handgun, a Mossberg Maverick 88 shotgun, and a Ruger Mini 14 Ranch Rifle. In

addition, officers recovered a Colt .38 Special handgun that Jeffery Clark surrendered to W-1.

This gun was not registered to either Jeffrey or Edward Clark.

       24.     Agents have also recovered two boxes of AR-15 rifle conversion kits. The

conversion kits contain the upper portions of a .22 caliber AR-15 and other components used to

convert an AR-15 to a complete rifle. However, the two lower portions of the AR-15s are

missing. These lower portions can be easily converted to function as AR-15 rifles by adding a

different upper section to fire .22 caliber up to 5.56 x 45 mm NATO rounds.

       25.     In addition, agents recovered four high-capacity AR-15 magazines capable of

holding up to 30 rounds of ammunition.

                             Specific Information Related to Gab

       26.     Your Affiant has learned that Jeffrey Clark would communicate with users on

“Gab.” Gab owns and operates a free-access social-networking website of the same name that

can be accessed at http://www.Gab.com. Gab allows its users to create their own profile pages,

which can include a short biography, and a photo of themselves. Gab also permits users to create

and read 300-character messages called "Gab," and to restrict their "Gabs" to individuals with

whom they approve. Upon creating a Gab account, a Gab user must create a unique Gab

username and an account password, and the user may also select a different "display name" of 20




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characters or fewer to identify his or her Gab account. The Gab user may also change this

username, password, and display name without having to open a new Gab account.

         27.      A Gab user can post a personal photograph or image (also known as an "avatar")

to his or her profile, and can also change the profile background or theme for his or her account

page. In addition, Gab users can post "bios" of 160 characters or fewer to their profile pages. In

addition, when a Gab includes a Gab username, often preceded by the @ sign, Gab designates

that Gab a "mention" of the identified user.

         28.      On October 27, 2018, after learning of his brother’s suicide, Jeffrey Clark told W-

1 and W-2 that he thought the synagogue shooter (Bowers) had friended him on Gab.

         29.      On or about November 4, 2018, Jeffrey Clark told W-2 that he expected the FBI

to “show up” because of his contacts with Bowers on Gab. During this conversation, Jeffrey

Clark told W-2 “they (an apparent reference to VA) had not broken any laws, but at some point

if a line gets crossed, I would be violent, everyone has a line, including you.”

         30.      The FBI’s investigation into Bowers confirmed that Bowers and Jeffrey Clark

were friends on Gab.

         31.      Your affiant has identified Jeffrey Clark’s Gab username as “DC Bowl Gang.” 4

Your affiant also has reason to believe that the Gab username for Edward Clark was

“DC_Stormer.” Your affiant viewed Jeffrey Clark’s Gab profile page following Edward Clark’s

death. Jeffrey Clark’s profile picture includes a photograph of Jeffrey and Edward Clark wearing



4
  Your affiant believes that the term “bowl gang” is a reference to the bowl-style haircut of Dylann Roof, the white
supremacist convicted of perpetrating the June 17, 2015, massacre at Emanuel African Methodist Episcopal Church
in Charleston, South Carolina, that left nine people dead.




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masks and holding what appear to be the Mossberg Maverick 88 shotgun and the Ruger Mini 14

Ranch Rifle that were registered in the District of Columbia. The Clark brothers are posing in

front of a flag with a skull and crossbones. The skull has what appears to be a bowl-style haircut.

Superimposed over this photograph is an image of Dylann Roof (Attachment D).

       32.     On his profile page, Jeffrey Clark describes himself as: “Aka DC Stormer (RIP),

“Meth-Smoking, Pipe Bomb making, mailman-murding,#Fed,#DemoKKKrat, Che Guevara of

the altright, Glenn beck, Not a NEET – just bathing in White priviledge, Bowlcut Nationalism is

the only way forward. . .” (Attachment D).

       33.     In one of Jeffrey Clark’s Gab posts he states that the “fucking kikes that got shot

by the hero #RobertBowers were all active supporters of pedophilia… and every last one of them

deserved exactly what happened to them and so much worse.”

       34.     Another post in Jeffrey Clark’s Gab account shows a picture of Robert Bowers,

armed with a gun, splattered in what appears to be blood, followed by the following post by

Clark: “Nah he was BASED! Get used to it libtards. This was a dry run for things to come.”

(Attachment E). This statement implies that Jeffery Clark did know more about the attack in the

Tree-of-Life synagogue, and that there was more to come.




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                                        CONCLUSION

       35.    Based on the abovementioned facts, I submit there is probable cause to believe

that on or about September 2018 through November 9, 2018, JEFFERY CLARK, an unlawful

user of a controlled substance, knowingly possessed and transported in interstate commerce a

firearm, in violation of 18 U.S.C. § 922(g)(3), and unlawfully possessed a high-capacity

magazine in violation of 7 D.C. Code § 2506.1 (b).

                                    .




                                                  Respectfully submitted,



                                                  Michael Bauknight, Special Agent, FBI


       Subscribed and sworn to before me
       on November 9, 2018:

       _________________________________________
       G. MICHAEL HARVEY
       UNITED STATES MAGISTRATE JUDGE




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